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4    Attorney for Sergey Schirskiy
5

6                                 IN THE UNITED STATES DISTRICT COURT

7                           FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                      )   Case No.: 2:14-CR-198-TLN,
9    UNITED STATES OF AMERICA,                        )             2:11-CR-514-TLN
                                                      )             2:12-CR-060-TLN
10                   Plaintiff,                       )
                                                      )
11          vs.                                       )   STIPULATION TO CONTINUE
                                                      )   JUDGMENT AND SENTENCING AND
12   SERGEY SHCHIRSKIY,                               )   FOR MODIFICATION OF SENTENCING
                                                      )   SCHEDULE
13                   Defendant                        )
14

15
            Plaintiff, United States of America, by and through its counsel of record, and the
16
     defendant SERGEY SCHIRSKIY, by and through his counsel of record, hereby stipulate as
17

18   follows:

19          1.       By previous order, this matter was set for sentencing on May 4, 2017 at 9:30 a.m.

20          2.       By this stipulation, the defendant now moves to continue defendant’s sentencing

21   to May 18, 2017, at 9:30 a.m., and to exclude time between May 4, 2017 and May 18, 2017
22   under Local Code T4. Plaintiff and Probation does not oppose this request.
23
            3.       The parties agree and stipulate, and request that the Court find the following:
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            a.       Due to other trials and other commitments, defense counsel was unable to
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     coordinate a meeting with the defendant to review the Presentence Report and timely file an



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     opposition.     Additionally, Assistant United States Attorney Heiko Coppola has scheduled
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     military duty out of State on May 4, 2017.
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3            b.       Counsel for the defendants believe that failure to grant the above-requested

4    continuance would deny him the reasonable time necessary for effective preparation, taking into

5    account the exercise of due diligence.

6            d.       The government and probation does not object to the continuance.
7            e.       Based on the above-stated findings, the ends of justice served by continuing the
8
     case.
9
             4.       The parties stipulate and approve the following sentencing schedule changes:
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             Defendant’s Informal Objection to the Presentence Report shall be due April 20, 2017.
11
             The final Presentence Report shall be filed with the Court on April 27, 2017.
12
             Motion for Correction of the Presentence Report shall be filed with the Court and served
13
     on the Probation Officer and opposing counsel no later than May 4, 2017;
14
             Reply, or Statement of Non-Opposition, May 11, 2017; and,
15

16           Judgment and Sentencing Date, May 18, 2017.
     .
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18

19                                          Respectfully submitted,

20

21   Date: 4-10-17                                 By: /s/ Danny D. Brace, Jr.,
                                                          DANNY D. BRACE, JR.,
22                                                        Attorney for
                                                          Sergey Shchirskiy
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2
     Date: 4-10-17                                    By:/s/Heiko Coppola
3                                                     Authorized to sign for Mr. Coppola
                                                      On April 10, 2017
4                                                     Heiko Coppola
                                                      Assistant U.S. Attorney
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6
     IT IS SO ORDERED:
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     Dated: April 10, 2017
8

9                                                 Troy L. Nunley
                                                  United States District Judge
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                             STIP AND ORDER TO EXTEND TIME - 3
